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 7
 8                           UNITED STATES DISTRICT COURT

 9                         EASTERN DISTRICT OF CALIFORNIA
10
     THERESA BROOKE, a married woman
11   dealing with her sole and separate claim,       Case No: 1:18-cv-00155-AWI-EPG
12                        Plaintiff,                 STIPULATION OF DISMISSAL
13                                                   WITH PREJUDICE

14   vs.
15
     OCEANIC FRESNO, LP,
16
                          Defendant.
17
18          The parties stipulate and agree to dismiss the above action with prejudice, with

19   each party to bear her/its own costs and attorneys’ fees.

20
            RESPECTFULLY SUBMITTED this 29th day of October, 2018.
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22
                                                 /s/ Peter Kristofer Strojnik
23                                               Peter Kristofer Strojnik (242728)
                                                 Attorneys for Plaintiff
24
25
                                                 /s/ Michael Wright
26                                               Michael Wright (73236)
                                                 Attorneys for Defendant
27
28
